Case 2:03-cV-02812-.]P|\/|-de Document 15 Filed 07/07/05 Page 1 Of 3 Page|D 38

IN THE UNITED sTA'I'Es DISTRICT cOURT HI_ED BY L£_/ no
FoR THE WESTERN DISTRICT OF TENNESSEE “"" "
wEsTERN DIVISION

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THOMAS _M GCULD
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UNITED sTATES oF AMERICA, W/D 0.~ ga tttt;*.tPHS

Plaintiff,
vs. Cv. No. 03-2812-Ml/V
DERRICO LasHAUN MOODY,

Defendant.

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ORDER DENYING MOTION TO PROCEED M FORM.A PAUPERIS

 

Defendant Derrico LaShaun Moody, Bureau of Prisons inmate
registration number 17637-076, who is currently incarcerated at the
Federal Correctional Institution in Manchester, Kentucky, filed a p;g
§§ motion pursuant to 28 U.S.C. § 2255 on October 30, 2003,
accompanied by a legal memorandum. The Court issued an order on
October 12, 2004, that denied the § 2255 motion, denied a certificate
of appealability, and certified, pursuant to Fed. R. App. P. 24(a),
that an appeal would not be taken in good faith. On November 1, 2004,
Moody filed a motion to alter or amend the judgment, which the Court
construed as a motion pursuant to Fed. R. Civ. P. 59(e) and, as so
construed, denied the motion in an order issued on March 30, 2005.
Judgment was entered on March 31, 2005. Moody filed a notice of appeal
on December 21, 2004, and the Sixth Circuit docketed the appeal as
case no. 04-6467. On May 2, 2005, Moody filed a motion seeking leave

to proceed ig forma pauperis on appeal.

This document entered on the docket shea in comptianca : //
with Ftula 58 and/or 79(a) FFICP on jz',i 125 /v.)

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The Plaintiff’s motion is not properly before this Court,
as the Court's October 12, 2004, order certified, pursuant to Fed. R.
App. P. 24(a), that an appeal would not be taken in good faith. As a
result of the certification, Moody is not entitled to proceed ;p_fp;ma
pauperis even if he is indigent. Accordingly, the motion to proceed
ip ip;mg pauperis is DENIED for the reasons stated in the October 12,
2004, order. In order to proceed with his appeal, Moody must file his
pp §pppa pauperis application with the Sixth Circuit. A review of the
Sixth Circuit docket sheet indicates that this nmtion was filed
simultaneously with this Court and the Sixth Circuit.

The Clerk shall transmit a copy of the order to the United

States Court of Appeals for the Sixth Circuit.

IT IS SO ORDERED this az day of July, 2005.

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J PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

STATES DISTRICT oURT WESTRNE ISRICT oF TENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:03-CV-028]2 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

Derrico Lashaun Moody
17637-076

P.O. Box 4000

Manchester, KY 40962--400

Honorable J on McCalla
US DISTRICT COURT

